                                   Case 3:22-cv-00306-VAB Document 1-1 Filed 02/26/22 Page 1 of 6

                                                          Exhibit A to the Complaint
Location: Suffield, CT                                                                             IP Address: 70.188.158.37
Total Works Infringed: 45                                                                          ISP: Cox Communications
 Work      Hashes                                                                UTC        Site          Published     Registered   Registration
 1         Info Hash:                                                            01-10-     Blacked       01-03-2022    01-17-2022   PA0002330091
           6E6BFEFC1BD4B054C88A5C9F7E612FD1C4250A1D                              2022       Raw
           File Hash:                                                            23:55:24
           13E34D265DEBDD8151A4C7A13434B7098F13F64614FFC8F9BF4E45F641CDB386
 2         Info Hash:                                                            01-10-     Blacked       12-06-2021    12-13-2021   PA0002325836
           2900CFC27264C41B9EC116A7F07D307C45D21B68                              2022       Raw
           File Hash:                                                            23:44:17
           47603EC6297157F63FFE54B40DCFF805CB0AF168A2AFC44FC4DE5805747EF5C4
 3         Info Hash:                                                            12-20-     Blacked       11-15-2021    12-09-2021   PA0002325813
           8E469A7C3346C9C431044A6EBF72C0A49848C8F6                              2021       Raw
           File Hash:                                                            07:26:23
           9258B7A04B140C7BE97A407CD7F02CF41CFE815B1B17E5BB3E022CF1FDE114CA
 4         Info Hash:                                                            12-20-     Blacked       11-22-2021    12-09-2021   PA0002325831
           F384E970AC450A02931E74335A99876DCA5AFBFF                              2021       Raw
           File Hash:                                                            07:26:11
           201D0FF4E41487C0C1B7C759ED7237173F0D4D0F56007F7D5EC7FE0E6CB68A0A
 5         Info Hash:                                                            12-20-     Blacked       12-13-2021    01-17-2022   PA0002330111
           C42EE371002AEEA77C5452EDB31E0132A3D47B6E                              2021       Raw
           File Hash:                                                            07:24:36
           8F86F2EA5E22176E3351BBF65BE24B9C737E9DF52772F1B0CFF2916A66F40C20
 6         Info Hash:                                                            11-15-     Blacked       11-13-2021    12-09-2021   PA0002325812
           0F3369D56C12420526363EBE5C492385B9FDE5DE                              2021
           File Hash:                                                            22:53:19
           2279D39687C78A02AD890FFC3B774535F38F009FC1B4BA4888B405D8B184D831
 7         Info Hash:                                                            10-20-     Blacked       09-25-2021    10-05-2021   PA0002315288
           8F5305E4A5285CF5A766334ABC97D190CB1AC874                              2021
           File Hash:                                                            04:28:38
           84723E9F05287A7F8EA5504E6382D15F7CBAA540619211B9334DD6B6647267BB
 8         Info Hash:                                                            07-04-     Blacked       05-10-2021    06-15-2021   PA0002296920
           A4217C332CF806017EE6C8CF1E5151DFF8833788                              2021       Raw
           File Hash:                                                            18:54:44
           A5C5CCE866EC37B20892846DE00B32E7F46D3E3BCED9E20695DD1B57A161F291
                               Case 3:22-cv-00306-VAB Document 1-1 Filed 02/26/22 Page 2 of 6

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         07-04-     Blacked   05-31-2021   06-15-2021   PA0002296925
       8EE948443FBE7B902CACD7BECB7FEF16C06E5747                           2021       Raw
       File Hash:                                                         18:54:44
       15E258694DED57BC6C45BCE2EE94A799DB8994134024375CAFCCBC3B9C4ED9B4
10     Info Hash:                                                         07-04-     Blacked   05-15-2021   06-09-2021   PA0002295594
       0F2348656BCA95DEFEDB64CE2ABC032472709F54                           2021
       File Hash:                                                         18:54:44
       9DDAC032E4C0EAEF286FB2E54C4FE15F44C361508B56DFDDEE903CA16E742956
11     Info Hash:                                                         07-04-     Blacked   05-22-2021   06-09-2021   PA0002295591
       98B3583856739205901AC1C8B78514AA249BA34E                           2021
       File Hash:                                                         18:54:34
       99EA22FB08A7AA82E2ECBAF9760FE4A7B81918550A0E7638BD58B23E9B19CF59
12     Info Hash:                                                         07-04-     Blacked   05-07-2021   06-09-2021   PA0002295580
       DEAEF69A92F1519FAEC0425DEC4DC04534E71CF3                           2021
       File Hash:                                                         18:54:13
       3CDA231B56F1E98746A3C2AE9ADD5702103A140C0D988E45ED3A56D5ADFF2FA5
13     Info Hash:                                                         07-04-     Blacked   05-24-2021   06-24-2021   PA0002303153
       ED7876C01554DC0240AEC5A97EC30C00050D406F                           2021       Raw
       File Hash:                                                         18:54:12
       4516D9BAA03BE3C57E19ACC0A54C047E0FB91F2E2D968B4F274661933EEEB154
14     Info Hash:                                                         07-04-     Blacked   06-14-2021   08-02-2021   PA0002305094
       32EAB20A9B2E50DC4BF56C17FE55379EAC2D35A4                           2021       Raw
       File Hash:                                                         18:53:57
       332F47B8AE1F4C7DDDC90D81EDD3A996200C8249BC701F239B99D44E85F89892
15     Info Hash:                                                         07-04-     Blacked   05-03-2021   06-15-2021   PA0002296918
       42ECAAEDF5FAE1D20495A16EE7297D12DE2F4692                           2021       Raw
       File Hash:                                                         18:50:22
       2119CF5CC787DA3DCDBFB77F08C539EC3AAA2D732B0F6855457713266E2F89B9
16     Info Hash:                                                         07-04-     Blacked   06-26-2021   07-08-2021   PA0002300662
       0B3211C8AA683053AD9C2205D34C75107F839A20                           2021
       File Hash:                                                         18:44:09
       B31A11000A19FCB59304064245993EEE63E01F14BF15B7D0776CE1173C608E7F
17     Info Hash:                                                         07-04-     Blacked   06-05-2021   06-15-2021   PA0002296924
       2633CD97981B90290A6B07878DB24E95843051FD                           2021
       File Hash:                                                         18:44:02
       12BFDB30AB4F19B7B4077D5B64A15D8A0C2A2F8AB5C3A0E5D9212F62656E8838
                               Case 3:22-cv-00306-VAB Document 1-1 Filed 02/26/22 Page 3 of 6

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         07-04-     Blacked   06-28-2021   07-08-2021   PA0002300664
       74964D3B38DB0C336AE21C64536CCC10081EBDDF                           2021       Raw
       File Hash:                                                         18:43:51
       296984FF61F9590FBD6049CF61271D6BFAE9D17CD3D76DAA5B4CAFD611B822C4
19     Info Hash:                                                         07-04-     Blacked   06-07-2021   06-15-2021   PA0002296926
       9CD7CFD962DE7804CF2507733B747EEB28B25D1E                           2021       Raw
       File Hash:                                                         18:43:27
       CC3818D230E86A51A6697869E4F66F58703FCE9CA81ECB5782A8A652486993F1
20     Info Hash:                                                         07-04-     Blacked   07-03-2021   08-02-2021   PA0002305091
       66E841DDD72A50FF74298079B63B8046D69081CA                           2021
       File Hash:                                                         18:40:02
       64783253670BAC42DF82F0CC9608EDB50306F7A4E72DE0A5C15320491B71A48A
21     Info Hash:                                                         05-17-     Blacked   04-10-2021   06-09-2021   PA0002295605
       18FFD959AA2BCC3398C05A9891815D71F3AA86D8                           2021
       File Hash:                                                         17:57:18
       1EE9ED77F80DC7E54E4C70CA5224704F43BB82A137114BF49F0E39D3F30780EA
22     Info Hash:                                                         05-17-     Blacked   04-19-2021   04-27-2021   PA0002288984
       C98740C62F8F9C6B18747244C61404316A90AA7C                           2021       Raw
       File Hash:                                                         17:52:43
       56A0813EBB70472E9743368766038D60CE524AF3A3E02C21CC91B5BF295DE28A
23     Info Hash:                                                         05-17-     Blacked   04-24-2021   04-27-2021   PA0002288981
       07505D1BF57DF4D79F0E6D0C802F273714F82B69                           2021
       File Hash:                                                         17:51:53
       44F977A16AFCEE2BD4C403DBB7510F28AEE06CA03510AAF7793782EF9C9D86CA
24     Info Hash:                                                         05-03-     Blacked   04-17-2021   06-09-2021   PA0002295585
       338E433F3E451BB2217BF626F766609E431CC6E7                           2021
       File Hash:                                                         13:40:07
       0567817E0C2AC63DFA227FA811FAEDEA563D748039F2A2B1F4B98DECE9B2614B
25     Info Hash:                                                         04-29-     Blacked   04-12-2021   04-27-2021   PA0002288983
       44B4AD7A047450E82E78476BCCB6F743AF7FA21A                           2021       Raw
       File Hash:                                                         04:26:32
       E48373889E5E612D0D275BAC65055D7D7DD02A206477BFBFBB7A7BD185C34BDF
26     Info Hash:                                                         02-10-     Blacked   11-28-2020   12-28-2020   PA0002269083
       A5FE80F87C19CB5825283CDADB2CEEA147462E52                           2021
       File Hash:                                                         01:16:53
       A4715423738C9BC0E614DAB6564B71ABD125A7F02EDE7DCCD88A942E197AD133
                               Case 3:22-cv-00306-VAB Document 1-1 Filed 02/26/22 Page 4 of 6

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         02-09-     Blacked   12-05-2020   01-04-2021   PA0002277031
       4EFB065D3B9E7A5DA5369BF70FADF3B1192119D6                           2021
       File Hash:                                                         21:05:17
       2C29429773BBA5F4ADC6F4E543FE1A698556776657914B00438BBC30FBB29340
28     Info Hash:                                                         02-09-     Blacked   11-30-2020   01-04-2021   PA0002277037
       8CD924715A479D3D0E91C3B0E62BC25E883E62E5                           2021       Raw
       File Hash:                                                         21:05:05
       BDBCDF434CF419496FF3E8D769526E3BA168CCF989EE165CA197276A53CE6F04
29     Info Hash:                                                         01-06-     Blacked   12-21-2020   01-05-2021   PA0002269958
       7A55D40C0AC6D4D98039ED938F88F0ECE565C3C2                           2021       Raw
       File Hash:                                                         21:35:04
       13695C39A914DBC94B480E90A90A2B1226545E984E809BB8E11D7D0E88677BF0
30     Info Hash:                                                         11-18-     Blacked   11-02-2020   11-24-2020   PA0002265968
       DE2A31DEAF7DE642D1A76E3E43D4505CF47F8C04                           2020       Raw
       File Hash:                                                         16:14:52
       EAEB2C8533BDDF599E638D39F482EC672B1D7373A45661F686ADE3CD7D0B0E82
31     Info Hash:                                                         11-18-     Blacked   10-19-2020   11-05-2020   PA0002263389
       30C2E5EEEBDF45D9C83127199FE070EEB091A96C                           2020       Raw
       File Hash:                                                         16:14:41
       363C657260C54421DB941EE3B5764CF3DD8788F6570BF153BC16E19E0081CDC7
32     Info Hash:                                                         11-18-     Blacked   09-14-2020   09-29-2020   PA0002258688
       434CDEA9A4E461DA9DB9DF7E96C1F733C273AB05                           2020       Raw
       File Hash:                                                         16:13:51
       69D7A044616B2F1F42B2ED49D9E68488BF7B87739F3D0F97BFA8FF6B5FEB8EFF
33     Info Hash:                                                         11-18-     Blacked   10-31-2020   11-24-2020   PA0002265967
       FB6D45F0A6BD5E28A418EF8AC262EC06C6D4A40B                           2020
       File Hash:                                                         16:05:54
       EE6802769054BFB182B32EB472AE2616FD92D062D9A3A75A2EB5D4BA1B2F0661
34     Info Hash:                                                         10-28-     Blacked   10-24-2020   11-05-2020   PA0002263386
       3818467D5DC9DDB317735107C4146CBB3C456751                           2020
       File Hash:                                                         22:11:17
       76CC20D3E9FC939ED897DF2598478477E80E3E647195FEC6250C8664D38F8A3E
35     Info Hash:                                                         10-28-     Blacked   10-17-2020   11-05-2020   PA0002263387
       37843E981F023C4F8A614866482FB097EADB6190                           2020
       File Hash:                                                         22:10:37
       E3220ED2ACA24FFAB45B969A40C2B53659F98D2F13A0E8C3D2A45D678DE4B327
                               Case 3:22-cv-00306-VAB Document 1-1 Filed 02/26/22 Page 5 of 6

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash:                                                         10-28-     Blacked   10-03-2020   10-22-2020   PA0002261803
       D351628EADEDD6324BC996E625934E8314F4AC8B                           2020
       File Hash:                                                         22:10:06
       D904AA1F88C7A7CD122A05DBC80230E9C89977550F62C666B36FDF3007340AC2
37     Info Hash:                                                         10-28-     Blacked   09-26-2020   10-22-2020   PA0002261801
       9B2D7FF24D25691FBFA67A7F19276AFE62D75467                           2020
       File Hash:                                                         22:02:04
       743F0514EE583C16D839D66F135C80AD6B68A59E4C572E24310AF5362B24EE1C
38     Info Hash:                                                         10-28-     Blacked   10-10-2020   10-22-2020   PA0002261812
       0FFB0F410BBEF345F0A6D0C21F7245EF83162E9C                           2020
       File Hash:                                                         22:01:29
       C17D3B1AA6AFF175042CC65F9474EB194D120ECC79400261B4F6E8A3AB625E1C
39     Info Hash:                                                         10-28-     Blacked   08-31-2020   09-05-2020   PA0002255473
       4F3CAA9D7D8185F294DFF09E8276BDEC62D8A41C                           2020       Raw
       File Hash:                                                         22:00:11
       919E33445946B2E47A9223CBBA2E2666E8F11A358771039219D7B4160EB14A31
40     Info Hash:                                                         10-28-     Blacked   09-05-2020   09-29-2020   PA0002258686
       979CD4F798E6D0277F211C43B2DEAD821781AAB7                           2020
       File Hash:                                                         21:59:45
       E4EF4298821183831E08081314D570BF54150A02DA0ADFFD61F03A99A9653C34
41     Info Hash:                                                         07-24-     Blacked   07-06-2020   07-20-2020   PA0002248962
       6E092D7A3453A1D45B1439231F12D419573100A7                           2020       Raw
       File Hash:                                                         16:23:40
       D8BF82073E2B68DD94CE8EB6D1D86B84A373A3C3A9FD4A6154CF46360F2A4686
42     Info Hash:                                                         07-20-     Blacked   02-19-2020   03-18-2020   PA0002241617
       549D81C2E31A1CB34CE19937D9D3CEE671D29A4C                           2020
       File Hash:                                                         03:16:31
       C8CCB78689D918D0D79665B3B33C13341BA46849EA640AFB43423CF912D9BAE6
43     Info Hash:                                                         07-20-     Blacked   05-30-2020   06-22-2020   PA0002245635
       3E1B2FFC37EFD8FF20F15FE6983057183F446F26                           2020
       File Hash:                                                         03:14:00
       4D5D1DC20FBEF77EAB20063A078A377175BB0B7951ACC5760C752112F939349E
44     Info Hash:                                                         07-20-     Blacked   05-23-2020   06-22-2020   PA0002245638
       9E44731E8EC3B6FD476E0A33695303251A58C476                           2020
       File Hash:                                                         03:13:21
       6E310240066A7148AF3E41F974E2DF798485CC20CD9169B21ACB3B29F1F08140
                               Case 3:22-cv-00306-VAB Document 1-1 Filed 02/26/22 Page 6 of 6

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
45     Info Hash:                                                         07-20-     Blacked   06-06-2020   06-22-2020   PA0002245636
       33A4F0957F39BD711E336BDA133DB458DE45E91A                           2020
       File Hash:                                                         03:12:53
       3DAF85B3BD145FB374681902E3C68D3173421FC9206B8BF74BA9B2B8C8CA5ACD
